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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Maryland
 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____
                                                           11
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           12-16 S. Patterson Park Avenue Development, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             Unknown - subject to further investigation.
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               8 ___
                                              ___ 2 – ___
                                                      3 ___
                                                          8 ___
                                                            2 ___
                                                                7 ___
                                                                  3 ___
                                                                      7 ___
                                                                        6
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              c/o Patricia B. Jefferson, Chapter 11 Trustee
                                              ______________________________________________             _______________________________________________
                                              Number      Street                                         Number     Street

                                             Miles & Stockbridge PC, 100 Light Street
                                             ______________________________________________              _______________________________________________
                                                                                                         P.O. Box

                                              Baltimore                   MD       21202
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Baltimore City
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  N/A
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        12-16 S. Patterson Park Avenue Development, LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___
                                             5 ___
                                                 3 ___
                                                   1 ___
                                                       3

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                                         Case 23-14209          Doc 1          Filed 06/15/23             Page 3 of 56

Debtor          12-16 S. Patterson Park Avenue Development, LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases             No
       filed by or against the debtor
       within the last 8 years?                Yes.    District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                   District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY

 10.   Are any bankruptcy cases                No
       pending or being filed by a
       business partner or an                  Yes.           G.D. III, Inc.
                                                        Debtor _____________________________________________              Managing Member
                                                                                                             Relationship _________________________
       affiliate of the debtor?                                  Maryland
                                                        District _____________________________________________ When               05/03/2022
                                                                                                                                  __________________
       List all cases. If more than 1,                                                                                            MM / DD / YYYY
       attach a separate list.                                                22-12393
                                                        Case number, if known ________________________________



 11.   Why is the case filed in this          Check all that apply:
       district?
                                               Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                               A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have             No
       possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                          It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                           What is the hazard? _____________________________________________________________________

                                                          It needs to be physically secured or protected from the weather.

                                                          It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).

                                                          Other _______________________________________________________________________________



                                                       Where is the property?_____________________________________________________________________
                                                                                 Number          Street

                                                                                 ____________________________________________________________________

                                                                                 _______________________________________         _______ ________________
                                                                                 City                                            State ZIP Code


                                                       Is the property insured?

                                                          No
                                                          Yes. Insurance agency ____________________________________________________________________

                                                                Contact name     ____________________________________________________________________

                                                                Phone            ________________________________




               Statistical and administrative information




 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                                Case 23-14209                Doc 1         Filed 06/15/23             Page 4 of 56

Debtor        12-16 S. Patterson Park Avenue Development, LLC
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                             25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                            50,001-100,000
       creditors
                                          100-199                            10,001-25,000                           More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                  $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million               More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                  $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million               More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                           06/15/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Patricia B. Jefferson
                                                                                                         Patricia B. Jefferson, Ch. 11 Trustee of G.D. III, Inc.,
                                             _____________________________________________               Managing      Member
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor            .Printed name

                                                   Chapter 11 Trustee for the Bankruptcy Estate of G.D. III, Inc., Managing Member
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor        12-16 S. Patterson Park Avenue Development, LLC
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/ Addison J. Chappell
                                            _____________________________________________            Date
                                                                                                                      06/15/2023
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Addison J. Chappell
                                            _________________________________________________________________________________________________
                                            Printed name
                                            Miles & Stockbridge PC
                                            _________________________________________________________________________________________________
                                            Firm name
                                            100      Light Street
                                            _________________________________________________________________________________________________
                                            Number     Street
                                            Baltimore
                                            ____________________________________________________           MD
                                                                                                           ____________ 21202
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                            410-385-3481
                                            ____________________________________                            achappell@milesstockbridge.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                            21852
                                            ______________________________________________________  MD
                                                                                                   ____________
                                            Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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Debtor: 12-16 S. Patterson Park Avenue Development, LLC


                                       Continuation Sheet

10. Bankruptcy cases pending or being filed by a business partner or an affiliate of the
debtor?

 Debtor                   District     Case Number          Relationship      Date filed
 Keyway                   Maryland     22-13389             Affiliated with   6/21/2022
 Apartment                                                  the Debtor
 Rentals, LLC

 1401 S. Hanover Maryland              TBD                  Affiliated with   TBD
 Street, LLC                                                the Debtor




116476\000003\4866-8239-1134.v1
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                12-16 S. PATTERSON PARK AVENUE DEVELOPMENT, LLC’S
                              CERTIFICATE AND CONSENT

       The undersigned Managing Member certifies that 12-16 S. Patterson Park Avenue
Development, LLC (the “Company”) is a limited liability company duly organized and existing
under the laws of the State of Maryland. The following resolutions are duly adopted, ratified, and
consented to by the Managing Member.

      WHEREAS, G.D. III, Inc. is the Managing Member of the Company, vested with
complete and exclusive discretion and authority to manage the Company.

        WHEREAS, by Order Approving Appointment of Trustee [Dkt. No. 109] (the “Order
Appointing Trustee”) in case number 22-12393 in the United States Bankruptcy Court for the
District of Maryland (the “Court”), Patricia B. Jefferson (the “Trustee”) was appointed as Chapter
11 Trustee for G.D. III, Inc.

       WHEREAS, by Order Granting Chapter 11 Trustee’s Motion to Supplement Order
Appointing Chapter 11 Trustee, the Court expanded the Trustee’s authority to include the
operation of all of G.D. III, Inc.’s subsidiary businesses.

        WHEREAS, the Managing Member, by and through the Trustee, believes it is in the best
interest of the company to seek protection under Chapter 11 of the United States Bankruptcy Code.

        NOW THEREFORE BE IT RESOLVED, that the Company is hereby authorized and
directed to seek protection under Chapter 11 of the United States Bankruptcy Code; and it is

       FURTHER RESOLVED: that the Company retain the firm of Miles & Stockbridge P.C.
in connection with the bankruptcy filing; and it is

        FURTHER RESOLVED: that in order to perform the Company’s obligations in
connection with the bankruptcy filing, the company hereby authorizes and directs the Trustee to
execute and deliver on behalf of the company all instruments and documents and take all action
which she deems necessary and advisable, including, without limitation, to execute and deliver
applications, commitments, notes, consents, agreements, contracts, indemnifications, certificates,
certifications, assignments, affidavits, verifications and notices as is necessary and proper, and the
execution and delivery thereof on behalf of the Company by the Managing Member or the Trustee
shall be conclusive evidence of such approval; and it is

       FURTHER RESOLVED: that to induce any party to rely thereon, the Trustee be and is
hereby authorized and empowered to certify a copy of these resolutions, and may consider her to
remain in her capacity as Chapter 11 Trustee for G.D. III, Inc., Managing Member of the Company,
and the resolutions to remain in full force and effect until written notice to the contrary shall be
received from her.

        The foregoing resolutions have not been amended, rescinded or modified and are in full
force and effect on the date hereof.



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       IN WITNESS WHEREOF, the Managing Member has caused this instrument to be
properly executed as of the 15th day of June, 2023.

G.D. III, Inc., a Maryland corporation


By:
         Patricia B. Jefferson, Chapter 11 Trustee




116476\000003\4869-9188-3872.v3
                                     Case 23-14209             Doc 1         Filed 06/15/23                Page 9 of 56

 Fill in this information to identify the case and this filing:


              12-16 S. Patterson Park Avenue Development, LLC
 Debtor Name __________________________________________________________________
                                                                            Maryland
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.

                           06/15/2023
        Executed on ______________                              /s/ Patricia B. Jefferson
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Patricia B. Jefferson, Chapter 11 Trustee of G.D. III, Inc.
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Authorized person
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                                                 Case 23-14209                            Doc 1              Filed 06/15/23                        Page 10 of 56


 Fill in this information to identify the case:

             12-16 S. Patterson Park Avenue
 Debtor name ____________________________         Development,
                                          _____ _____               LLC _____ _____ _
                                                      _____ ______ _____


                                                                              Maryland
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                         Unknown - subject
                                                                                                                                                                                                  to investigation
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

                                                                                                                                                                                                  $563,500 - subject
     1b.   Total personal property:                                                                                                                                                               to investigation
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

                                                                                                                                                                                                  $563,500 + investigation
     1c. Total of all property:
                                                                                                                                                                                                  results
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                  50,386.23
                                                                                                                                                                                                $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                  0
                                                                                                                                                                                                $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +   $ 1,127,799.23
                                                                                                                                                                                                  ________________




4.   Total liabilities...................................................................................................................................................................         1,178,185.46
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                                      Case 23-14209               Doc 1         Filed 06/15/23              Page 11 of 56


      Fill in this information to identify the case:

                  12-16 S. Patterson Park Avenue Development, LLC
      Debtor name __________________________________________________________________
                                                                                 Maryland
      United States Bankruptcy Court for the: ______________________ District of _________

      Case number (If known):   _________________________
                                                                                  (State)
                                                                                                                                                 Check if this is an
                                                                                                                                                     amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                         12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number, and       Nature of the claim      Indicate if     Amount of unsecured claim
     mailing address, including zip code      email address of creditor         (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                              contact                           debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in
                                                                                professional             unliquidated,   total claim amount and deduction for value of
                                                                                services, and            or disputed     collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                         Total claim, if    Deduction for       Unsecured
                                                                                                                         partially          value of            claim
                                                                                                                         secured            collateral or
                                                                                                                                            setoff
      1401 S. Hanover Street, LLC              Patricia B. Jefferson, Ch. 11 Trustee                                                                           $77,799.23
1     c/o Patricia B. Jefferson, Ch. 11Trustee 410-385-3406                          Promissory   note
      Miles & Stockbridge PC                   pjefferson@milesstockbridge.com
      100 Light Street
      Baltimore, MD 21202

     Tour Div, LLC                                                               Money contributed                                                             $1,050,000.00
2
     c/o Dr. Pegah Touradji
     7 Hampston Garth
     Lutherville Timonium, MD 21093
3




4




5




6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                         page 1
                                    Case 23-14209           Doc 1        Filed 06/15/23             Page 12 of 56


    Debtor
                  12-16 S. Patterson Park Avenue Development, LLC
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
                                      Case 23-14209          Doc 1        Filed 06/15/23            Page 13 of 56
  Fill in this information to identify the case:

              12-16 S. Patterson Park Avenue Development, LLC
  Debtor name __________________________________________________________________

                                                                             Maryland
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
  Case number (If known):     _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
                                    Case 23-14209              Doc 1         Filed 06/15/23            Page 14 of 56
Debtor         12-16 S. Patterson Park Avenue Development, LLC
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:

   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________




17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 2
                                  Case 23-14209              Doc 1       Filed 06/15/23         Page 15 of 56
Debtor          12-16 S. Patterson Park Avenue Development, LLC
                _______________________________________________________                   Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last      Net book value of     Valuation method used        Current value of
                                                    physical inventory    debtor's interest     for current value            debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

20. Work in progress
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                          $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________


23. Total of Part 5                                                                                                         $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                 Net book value of     Valuation method used        Current value of debtor’s
                                                                          debtor's interest     for current value            interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________          $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed
   ______________________________________________________________          $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________       $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                               page 3
                                   Case 23-14209               Doc 1        Filed 06/15/23         Page 16 of 56
Debtor         12-16 S. Patterson Park Avenue Development, LLC
               _______________________________________________________                        Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________     ____________________       $______________________

40. Office fixtures

   ______________________________________________________________              $________________     ____________________       $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________     ____________________       $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 4
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 Debtor         12-16 S. Patterson Park Avenue Development, LLC
                _______________________________________________________                    Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________      ____________________       $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
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Debtor           12-16 S. Patterson Park Avenue Development, LLC
                 _______________________________________________________                         Case number (if known)_____________________________________
                 Name




Part 9:     Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
        12 S. Patterson Park Ave., Baltimore, MD 21231,
    55.1________________________________________        Owner
                                                     _________________             Unknown - subject to
                                                                                  $_______________      further investigation
                                                                                                      ____________________            Unknown
                                                                                                                                    $_____________________
          consisting of 9 undeveloped lots.
    55.2________________________________________            _________________     $_______________      ____________________        $_____________________

    55.3________________________________________            _________________     $_______________      ____________________        $_____________________

    55.4________________________________________            _________________     $_______________      ____________________        $_____________________

    55.5________________________________________            _________________     $_______________      ____________________        $_____________________

    55.6________________________________________            _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                      Unknown
                                                                                                                                    $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
          No
          Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
          No
          Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of     Valuation method             Current value of
                                                                                  debtor's interest     used for current value       debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
    ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                     $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 6
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Debtor          12-16 S. Patterson Park Avenue Development, LLC
                _______________________________________________________                                       Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                                 Current value of
                                                                                                                                                   debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                                 _______________      –   __________________________         =   $_____________________
    ______________________________________________________
                                                                                 Total face amount        doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                                $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)                                                                                                                                Unknown - subject to
    Various claims - subject to further investigation
    ______________________________________________________________                                                                                 further investigation
                                                                                                                                                  $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                                $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property                                                                                               $563,500 - subject
     See continuation sheet
    ______________________________________________________________                                                                                  to investigation
                                                                                                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
                                                                                                                                                   Unknown - subject
    Various inter-company transfers between the debtor and other entities managed by G.D. III, Inc.
   ____________________________________________________________                                                                                    to investigation
                                                                                                                                                  $_____________________
   ____________________________________________________________                                                                                   $_____________________

78. Total of Part 11.                                                                                                                              563,500 - subject to
                                                                                                                                                  $_____________________
                                                                                                                                                    investigation
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes

Official Form 206A/B                                                 Schedule A/B: Assets  Real and Personal Property                                          page 7
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Debtor            12-16 S. Patterson Park Avenue Development, LLC
                  _______________________________________________________                                                 Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                       $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                           $_______________


83. Investments. Copy line 17, Part 4.                                                                   $_______________


84. Inventory. Copy line 23, Part 5.                                                                     $_______________


85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $_______________

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                         $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________


88. Real property. Copy line 56, Part 9. . ..................................................................................... 
                                                                                                                                                 Unknown - subject to investigation
                                                                                                                                                $________________


89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_______________


90. All other assets. Copy line 78, Part 11.                                                        +      563,500 - subject to investigation
                                                                                                         $_______________


                                                                                                           563,500                               Unknown
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            +   91b.
                                                                                                                                                $________________




                                                                                                                                                                     563,500 + unknown
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................     $__________________
                                                                                                                                                                     investigation results




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                 page 8
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Debtor: 12-16 S. Patterson Park Avenue Development, LLC


                                      Continuation Sheet – Schedule A/B

76. Trusts, equitable or future interests in property

 Property                         Owner                  Nature of           Debtor’s Approximate
                                                         Debtor’s Interest   Interest in Property

 314 S. Clinton Street            Chance   Development Contributed funds $54,000 – subject to
                                  LLC                  used to purchase further investigation
                                                       property

 134 S. Curley Street             Chance   Development Contributed funds $260,000 – subject to
                                  LLC                  used to purchase further investigation
                                                       property

 1124 S.           Ellwood Chance          Development Contributed funds $125,000 – subject to
 Avenue                    LLC                         used to purchase further investigation
                                                       property

 847 S.          Kenwood Chance            Development Contributed funds $124,500 – subject to
 Avenue                  LLC                           used to purchase further investigation
                                                       property




116476\000003\4883-1342-1921.v1
                                          Case 23-14209                   Doc 1         Filed 06/15/23             Page 22 of 56
  Fill in this information to identify the case:

              12-16 S. Patterson Park Avenue Development, LLC
  Debtor name __________________________________________________________________
                                                                             Maryland
  United States Bankruptcy Court for the: ______________________ District of _________
                                                                                        (State)

  Case number (If known):      _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Ronald Deutsch
     __________________________________________                 2221 S. Boyer Street, Baltimore, MD                              14,651.49                Unknown
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  Block 1739, lot 70A
                                                                ___________________________________________________
      1099 Winterson Road #301
     ________________________________________________________   ___________________________________________________
      Linthicum Heights, MD 21090
     ________________________________________________________   Describe the lien
                                                                 Tax lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes
                            Unknown
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             Unknown - subject to investigation
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Mayor and City Council of Baltimore
     __________________________________________                  12 S. Patterson Park Avenue, Baltimore, MD                      12,310.09                Unknown
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                   Block 1739, lot 25
                                                                ___________________________________________________
     100   N. Holliday St., Ste. 400
     ________________________________________________________   ___________________________________________________
      Baltimore, MD 21202
     ________________________________________________________   Describe the lien
                                                                 Tax lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes
                           Unknown
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  Unknown - subject to investigation
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                   50,386.23
                                                                                                                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                         3
                                                                                                                                                           page 1 of ___
                                            Case 23-14209                 Doc 1         Filed 06/15/23             Page 23 of 56
  Debtor           12-16 S. Patterson Park Avenue Development, LLC
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._3 Creditor’s name                                            Describe debtor’s property that is subject to a lien

     Hampstead Hills, LLC
     __________________________________________                 12 1/2 S. Patterson Park Avenue, Baltimore, MD
                                                                ___________________________________________________              5,603.13                 Unknown
                                                                                                                                $__________________     $_________________
                                                                Block 1739, lot 26
                                                                ___________________________________________________
     Creditor’s mailing address

      2519 Eastern Avenue                                       ___________________________________________________
     ________________________________________________________
     Baltimore, MD 21224
     ________________________________________________________   Describe the lien
                                                                  Tax lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes


                           Unknown
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   Unknown       - subject to investigation
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._4 Creditor’s name                                            Describe debtor’s property that is subject to a lien

     Pine Valley One Real Estate, LLC
     __________________________________________
                                                                 14 S. Patterson Park, Baltimore, MD
                                                                ___________________________________________________
                                                                                                                                  5,603.13                Unknown
                                                                                                                                $__________________     $_________________
     Creditor’s mailing address
                                                                 Block 1739, lot 27
                                                                ___________________________________________________


     c/o Eskin Law, LLC, 1700 Reisterstown Rd., Suite 212       ___________________________________________________
     ________________________________________________________
      Baltimore, MD 21208                                       Describe the lien
     ________________________________________________________
                                                                  Tax lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes
                            Unknown
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   Unknown      - subject to investigation
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___   3
                                                                                                                                                                2 of ___
                                            Case 23-14209                 Doc 1         Filed 06/15/23             Page 24 of 56
  Debtor           12-16 S. Patterson Park Avenue Development, LLC
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._5 Creditor’s name                                            Describe debtor’s property that is subject to a lien

     Scott Morse
     __________________________________________                 16 S. Patterson Park Avenue, Baltimore, MD
                                                                ___________________________________________________              12,218.39                Unknown
                                                                                                                                $__________________     $_________________
                                                                Block 1739, lot 27B
                                                                ___________________________________________________
     Creditor’s mailing address

      Law Office of J. Scott Morse, LLC                         ___________________________________________________
     ________________________________________________________
      9 Newburg Ave., Ste. 201, Catonsville, MD 21228
     ________________________________________________________   Describe the lien
                                                                  Tax lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes


                           Unknown
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   Unknown - subject to investigation
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


     __________________________________________
                                                                ___________________________________________________
                                                                                                                                $__________________     $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         3 of ___
                                                                                                                                                           page ___  3
                                           Case 23-14209                      Doc 1          Filed 06/15/23         Page 25 of 56
   Fill in this information to identify the case:

   Debtor           12-16 S. Patterson Park Avenue Development, LLC
                    __________________________________________________________________
                                                                              Maryland
   United States Bankruptcy Court for the: ______________________ District of __________
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     Internal Revenue Service
     __________________________________________________________________   Check all that apply.
    Centralized Insolvency Operation, P.O. Box 7346
    ___________________________________________                              Contingent
                                                                             Unliquidated
    Philadelphia, PA 19101
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          Notice purposes only
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     Comptroller of Maryland Bankruptcy Unit
     __________________________________________________________________   Check all that apply.
    301 W. Preston St. Room 409
    ___________________________________________                              Contingent
                                                                             Unliquidated
    Baltimore, MD 21201
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          Notice purposes only
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     City of Baltimore
     __________________________________________________________________   Check all that apply.
     c/o Director of Finance 100 N. Holliday St., Room 454
    ___________________________________________                              Contingent
                                                                             Unliquidated
    Baltimore, MD 21202
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          Notice purposes only
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  7
                                                                                                                                                       page 1 of ___
                                   Case 23-14209
               12-16 S. Patterson Park Avenue Development, LLC   Doc 1         Filed 06/15/23            Page 26 of 56
  Debtor       _______________________________________________________                             Case number (if known)_____________________________________
               Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                             77,799.23
                                                                                                                           $________________________________
    1401 S. Hanover Street, LLC
    ____________________________________________________________
    c/o Patricia B. Jefferson, Ch. 11 Trustee, Miles & Stockbridge PC
                                                                              Contingent
    100 Light Street
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    Baltimore, MD 21202
    ____________________________________________________________                                Promissory note
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            March 2, 2023
                                               ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    0
                                                                                                                           $________________________________
                                                                           Check all that apply.
    Amar & Pushpa Sokhey
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    8762 Wethered Drive
    ____________________________________________________________              Disputed
    Ellicott City, MD 21043
    ____________________________________________________________
                                                                                                 Notice purposes only
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                            0
                                                                                                                           $________________________________
    Aziz Abdelkefi & Julie Reynolds
    ____________________________________________________________
                                                                              Contingent
    7 Black Forrest Road
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    Reisterstown, MD 21136
    ____________________________________________________________
                                                                                                Notice purposes only
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    0
                                                                                                                           $________________________________
    Bank of America, N.A.                                                  Check all that apply.
    ____________________________________________________________
                                                                              Contingent
    PO Box 982284
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    El Paso, TX 79998
    ____________________________________________________________
                                                                                                Notice purposes only
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    0
                                                                                                                           $________________________________
    Chad Kuciara                                                           Check all that apply.
    ____________________________________________________________
                                                                              Contingent
    1937 Nelson Mill Road
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
     Jarrettsville, MD 21984
    ____________________________________________________________
                                                                                                Notice purposes only
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     0
                                                                                                                           $________________________________
    Dominic Cardone                                                        Check all that apply.
    ____________________________________________________________
                                                                              Contingent
    1002 Shelburne Road
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
     Bel Air, MD 21015
    ____________________________________________________________
                                                                                                 Notice purposes only
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                     2 of ___
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  Debtor       _______________________________________________________                     Case number (if known)_____________________________________
               Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7 Nonpriority creditor’s name and mailing address
3.__                                                               As of the petition filing date, the claim is:
                                                                   Check all that apply.                             0
                                                                                                                   $________________________________
      Elizabeth Greller
     ___________________________________________________________  Contingent
                                                                      Unliquidated
                                                                      Disputed
     306 Tunbridge Road
     ___________________________________________________________  Liquidated and neither contingent nor
     Baltimore, MD 21212
     ___________________________________________________________   disputed

                                                                                        Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


  8 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                     0
                                                                                                                   $________________________________
     Florans Boldaji
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     5522 McKinley Street
     ___________________________________________________________      Disputed
     Bethesda, MD 20817
     ___________________________________________________________
                                                                                         Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


  9 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:     0
                                                                   Check all that apply.                           $________________________________
     Jae Uk Lee
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     12014 Catherine Close
     ___________________________________________________________      Disputed
     Clarksville, MD 21029
     ___________________________________________________________
                                                                                        Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


  10 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:    0
                                                                   Check all that apply.                           $________________________________
      Jeff Bertling
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     4105 Montana Avenue
     ___________________________________________________________      Disputed
     Baltimore, MD 21206
     ___________________________________________________________
                                                                                         Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes



  11 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:     0
                                                                   Check all that apply.                           $________________________________
     Jim Uvegas
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
      1794 Brookshire Court
     ___________________________________________________________      Disputed
     Finksburg, MD 21048
     ___________________________________________________________
                                                                                         Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __    7
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  Debtor       _______________________________________________________                     Case number (if known)_____________________________________
               Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  12 Nonpriority creditor’s name and mailing address
3.__                                                               As of the petition filing date, the claim is:
                                                                   Check all that apply.                             0
                                                                                                                   $________________________________
      Maryland Office of the Attorney General
     ___________________________________________________________      Contingent
      Securities Divison
                                                                      Unliquidated
                                                                      Disputed
     200 St. Paul Pl., 25th Floor
     ___________________________________________________________      Liquidated and neither contingent nor
     Baltimore, MD 21202
     ___________________________________________________________       disputed

                                                                                        Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


  13 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:     0
                                                                   Check all that apply.                           $________________________________
      Mike & Mary Gianforte
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
      193 Sugar Loaf Lane
     ___________________________________________________________      Disputed
      Murrells Inlet, SC 29576
     ___________________________________________________________
                                                                                        Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


  14 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                     0
                                                                                                                   $________________________________
     Namratha Sokhey
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     5004 Willow Branch Way, Apt. 302
     ___________________________________________________________      Disputed
     Owings Mills, MD 21117
     ___________________________________________________________
                                                                                         Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

  15 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:     0
                                                                   Check all that apply.                           $________________________________
     Patrick DeNobrega
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     30 E. Burke Avenue
     ___________________________________________________________      Disputed
      Towson, MD 21286
     ___________________________________________________________
                                                                                        Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes



  16 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:     0
                                                                   Check all that apply.                           $________________________________
      Rock Wayne Luckett
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     1600 N. 35th Ave
     ___________________________________________________________      Disputed
     Hollywood, FL 33021
     ___________________________________________________________
                                                                                        Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  4 of ___
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  Debtor       _______________________________________________________                     Case number (if known)_____________________________________
               Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  17 Nonpriority creditor’s name and mailing address
3.__                                                               As of the petition filing date, the claim is:
                                                                   Check all that apply.                            0
                                                                                                                   $________________________________
      Sandra Arrington
     ___________________________________________________________      Contingent
                                                                      Unliquidated
     1002 Shelburne Road                                              Disputed
     ___________________________________________________________      Liquidated and neither contingent nor
     Bel Air, MD 21015
     ___________________________________________________________       disputed

                                                                                         Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


  18 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:     0
                                                                   Check all that apply.                           $________________________________
      Susan Bollinger
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
      2002 Tree Lane
     ___________________________________________________________      Disputed
      Lutherville Timonium, MD 21093
     ___________________________________________________________
                                                                                        Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


  19 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                             1,050,000.00
                                                                                                                   $________________________________
      Tour Div, LLC
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
      c/o Dr. Pegah Touradji, 7 Hampston Garth
     ___________________________________________________________      Disputed
      Lutherville Timonium, MD 21093
     ___________________________________________________________
                                                                                        Money contributed
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         2018
                                             ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:     0
                                                                   Check all that apply.                           $________________________________
      Securities and Exchange Commission
     ___________________________________________________________
      Atlanta Reg. Office and Reorg.                              Contingent
      950 E. Paces Ferry Rd. NE, Suite 900
                                                                  Unliquidated
     ___________________________________________________________  Disputed
      Atlanta, GA 30326
     ___________________________________________________________
                                                                                        Notice purposes only
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes



3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     ___________________________________________________________      Disputed
     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  5 of ___
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  Debtor             _______________________________________________________                                          Case number (if known)_____________________________________
                     Name



Part 3:              List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the      Last 4 digits of
                                                                                                               related creditor (if any) listed?             account number, if
                                                                                                                                                             any

4.1.     Paul Sweeney, Esquire                                                                                      3.19
                                                                                                               Line _____
         ___________________________________________________________________________________________________
          YVS Law, LLC, 11825 West Market Place, Suite 200
         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         Fulton, MD 20759
         _________________________________________________________________                                         _________________________________

4.2.     Max Brauer, Assistant Attorney General                                                                     3.12
                                                                                                               Line _____
         ___________________________________________________________________________________________________

         Maryland Office of the Attorney General, Securities Division
         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         200 St. Paul Pl., 25th Floor, Baltimore, MD 21202
         _________________________________________________________________                                         _________________________________

4.3.     Kelvin M. Blake, Assistant Attorney General                                                                3.12
                                                                                                               Line _____
         ___________________________________________________________________________________________________

         Maryland Office of the Attorney General, Securities Division
         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         200 St. Paul Pl., 25th Floor, Baltimore, MD 21202
         _________________________________________________________________                                         _________________________________

4.4.     Katharine Weiskittel, Assistant Attorney General                                                           3.12
                                                                                                               Line _____
         ___________________________________________________________________________________________________

         Maryland Office of the Attorney General, Securities Division
         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         200 St. Paul Pl., 25th Floor, Baltimore, MD 21202
         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____

                                                                                                               
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________      ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __   7
                                                                                                                                                                            6 of ___
                               Case
               12-16 S. Patterson      23-14209
                                  Park Avenue        Doc 1LLC Filed
                                              Development,                06/15/23      Page 31 of 56
 Debtor        _______________________________________________________             Case number (if known)_____________________________________
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts



5a. Total claims from Part 1                                                                  5a.            0
                                                                                                           $_____________________________




5b. Total claims from Part 2                                                                  5b.    +       1,127,799.23
                                                                                                           $_____________________________




5c. Total of Parts 1 and 2                                                                                   1,127,799.23
                                                                                              5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                          7 of ___
                                                                                                                                    page __   7
                                    Case 23-14209               Doc 1        Filed 06/15/23            Page 32 of 56

 Fill in this information to identify the case:

             12-16 S. Patterson Park Avenue Development, LLC
 Debtor name __________________________________________________________________

 United States Bankruptcy Court for the:______________________ District of     Maryland
                                                                               _______
                                                                              (State)
 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       ____________________________________             _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                              page 1 of ___
                                    Case 23-14209               Doc 1        Filed 06/15/23             Page 33 of 56
 Fill in this information to identify the case:

             12-16 S. Patterson Park Avenue Development, LLC
 Debtor name __________________________________________________________________

                                                                            Maryland
 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                (State)
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1     George L. Divel, III
         _____________________        3275 Saint Charles Way
                                      ________________________________________________________             Bank of America, N.A.              D                   
                                                                                                           _____________________
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G
                                      Boca Raton                  FL       33434
                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2
         Brian L. Chance
         _____________________        1021 Binney St.
                                      ________________________________________________________             Bank of America, N.A.
                                                                                                           _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G
                                      Baltimore               MD              21224
                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3
         Unknown - subject to
         _____________________     further investigation
                                       ________________________________________________________            _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                                   1
                                                                                                                                               page 1 of ___
                                   Case 23-14209                 Doc 1        Filed 06/15/23          Page 34 of 56


Fill in this information to identify the case:

            12-16 S. Patterson Park Avenue Development, LLC
Debtor name __________________________________________________________________
                                                                           Maryland
United States Bankruptcy Court for the: ______________________ District of _________
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                      Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


   Part 1:        Income



   1. Gross revenue from business

          None

              Identify the beginning and ending dates of the debtor’s fiscal year, which       Sources of revenue                   Gross revenue
              may be a calendar year                                                           Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

                                                                                                                                     Unknown - subject to
             From the beginning of the                                                              Operating a business
                                                                                                                                      further investigation
                                                                                                                                     $________________
             fiscal year to filing date:     From ___________
                                                    MM / DD / YYYY
                                                                      to     Filing date           Other _______________________

                                                                                                                                      Unknown - subject to
             For prior year:                 From ___________         to     ___________           Operating a business
                                                                                                                                      further investigation
                                                                                                                                     $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                   Other _______________________
                                                                                                                                      Unknown - subject to
             For the year before that:       From ___________         to     ___________           Operating a business
                                                                                                                                     $further investigation
                                                                                                                                      ________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                   Other _______________________




   2. Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
      from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None

                                                                                               Description of sources of revenue     Gross revenue from each
                                                                                                                                     source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)
                                                                                                                                     Unknown - subject to
             From the beginning of the                                                                                               further investigation
                                                                                               ___________________________          $________________
             fiscal year to filing date: From ___________             to     Filing date
                                                    MM / DD / YYYY



             For prior year:                 From ___________         to     ___________                                             Unknown - subject to
                                                    MM / DD / YYYY            MM / DD / YYYY   ___________________________           further investigation
                                                                                                                                    $________________




             For the year before that:       From ___________         to     ___________                                             Unknown - subject to
                                                    MM / DD / YYYY            MM / DD / YYYY   ___________________________           further investigation
                                                                                                                                    $________________




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 1
                                      Case 23-14209                Doc 1       Filed 06/15/23              Page 35 of 56

Debtor             12-16 S. Patterson Park Avenue Development, LLC
                   _______________________________________________________                         Case number (if known)_____________________________________
                   Name




   Part 2:          List Certain Transfers Made Before Filing for Bankruptcy

   3. Certain payments or transfers to creditors within 90 days before filing this case
         List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
         days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
         adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

               None

                 Creditor’s name and address                         Dates         Total amount or value         Reasons for payment or transfer
                                                                                                                 Check all that apply
         3.1.
                 Thornton  Mellon LLC
                 __________________________________________         3/6/2023
                                                                    ________        9,221.17
                                                                                   $_________________                 Secured debt
                 Creditor’s name
                 939 W. North Ave., Suite 830
                                                                                                                      Unsecured loan repayments
                 __________________________________________
                 Street                                             ________                                          Suppliers or vendors
                 __________________________________________                                                           Services
                 Chicago              IL          60642
                 __________________________________________
                 City                          State    ZIP Code
                                                                    ________                                                Tax sale attorney release fees
                                                                                                                       Other _______________________________
                   
         3.2.
                 The Law Offices of Stephen L. Harker
                 __________________________________________         3/6/2023
                                                                    ________        744.30
                                                                                   $_________________                 Secured debt
                 Creditor’s name
                 35 Fulford Avenue, Suite 203
                                                                                                                      Unsecured loan repayments
                 __________________________________________
                 Street                                             ________                                          Suppliers or vendors
                 __________________________________________                                                           Services
                 Bel Air                  MD       21014
                 __________________________________________
                 City                          State    ZIP Code
                                                                    ________                                                 Tax sale attorney release fees
                                                                                                                       Other _______________________________


   4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
         guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
         $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
         Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
         general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
         the debtor. 11 U.S.C. § 101(31).

               None

                 Insider’s name and address                          Dates         Total amount or value        Reasons for payment or transfer
         4.1.
                 Unknown   - subject to further investigation
                 __________________________________________        _________      $__________________          ___________________________________________
                 Insider’s name
                 __________________________________________        _________                                   ___________________________________________
                 Street
                 __________________________________________        _________                                   ___________________________________________
                 __________________________________________
                 City                          State    ZIP Code


                 Relationship to debtor
                 __________________________________________


         4.2.

                 __________________________________________        _________      $__________________          ___________________________________________
                 Insider’s name
                 __________________________________________        _________                                   ___________________________________________
                 Street
                 __________________________________________        _________                                   ___________________________________________
                 __________________________________________
                 City                          State    ZIP Code



                 Relationship to debtor

                 __________________________________________



Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 2
                                     Case 23-14209                  Doc 1       Filed 06/15/23                 Page 36 of 56

Debtor             12-16 S. Patterson Park Avenue Development, LLC
                   _______________________________________________________                                Case number (if known)_____________________________________
                   Name




   5. Repossessions, foreclosures, and returns
         List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
         sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

               None
                Creditor’s name and address                          Description of the property                                   Date               Value of property
         5.1.
                Unknown - subject to further investigation
                __________________________________________           ___________________________________________                   ______________     $___________
                Creditor’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________           ___________________________________________
                __________________________________________
                City                          State     ZIP Code

         5.2.

                __________________________________________           ___________________________________________                   _______________      $___________
                Creditor’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________           ___________________________________________
                __________________________________________
                City                          State     ZIP Code


   6. Setoffs
         List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
         the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
               None
                 Creditor’s name and address                            Description of the action creditor took                    Date action was       Amount
                                                                                                                                   taken

                 Unknown - subject to further investigation
                 __________________________________________           ___________________________________________                _______________      $___________
                 Creditor’s name
                 __________________________________________           ___________________________________________
                 Street
                 __________________________________________
                 __________________________________________           Last 4 digits of account number: XXXX– __ __ __ __
                 City                          State     ZIP Code


    Part 3:            Legal Actions or Assignments

   7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
         List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
         was involved in any capacity—within 1 year before filing this case.

               None
                 Case title                                 Nature of case                          Court or agency’s name and address                 Status of case
                Thornton Mellon LLC v.                      Foreclosure of right of redemption
         7.1.
                12-16 S. Patterson Park Ave. Dev. LLC
                 _________________________________
                                                            of property sold at tax sale       Circuit Court for Baltimore City
                                                            ______________________________ __________________________________________                     Pending
                                                                                                   Name
                                                                                                                                                          On appeal
                                                                                                   111 North Calvert Street, Room 462
                                                                                                   __________________________________________
                 Case number                                                                       Street                                                 Concluded
                                                                                                   __________________________________________
                 24-C-23-000093
                 _________________________________                                                 Baltimore        MD              21202
                                                                                                   __________________________________________
                                                                                                   City                  State             ZIP Code
                  

                 Case title                                                                          Court or agency’s name and address
                Thornton Mellon LLC v.                      Foreclosure of right of redemption
                                                                                                                                                          Pending
         7.2.
                12-16 S. Patterson Park Ave. Dev. LLC
                 _________________________________          of property sold at tax sale
                                                            ______________________________     Circuit Court for Baltimore City
                                                                                               __________________________________________                 On appeal
                                                                                                   Name
                                                                                                   111 North Calvert Street, Room 462
                                                                                                   __________________________________________
                                                                                                                                                          Concluded
                 Case number
                                                                                                   Street
                                                                                                   __________________________________________
                 24-C-23-000092
                 _________________________________
                                                                                                   Baltimore               MD       21202
                                                                                                   __________________________________________
                                                                                                   City                          State     ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
                                        Case 23-14209                Doc 1         Filed 06/15/23            Page 37 of 56

Debtor             12-16 S. Patterson Park Avenue Development, LLC
                   _______________________________________________________                             Case number (if known)_____________________________________
                   Name




   8. Assignments and receivership
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
         hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
               None
                  Custodian’s name and address                        Description of the property                        Value

                 __________________________________________           ______________________________________             $_____________
                 Custodian’s name
                                                                      Case title                                         Court name and address
                 __________________________________________
                 Street
                                                                      ______________________________________           __________________________________________
                 __________________________________________                                                            Name
                 __________________________________________           Case number                                      __________________________________________
                 City                          State     ZIP Code                                                      Street
                                                                      ______________________________________           __________________________________________
                                                                      Date of order or assignment                      __________________________________________
                                                                                                                       City                 State               ZIP Code

                                                                      ______________________________________

   Part 4:             Certain Gifts and Charitable Contributions

   9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
         of the gifts to that recipient is less than $1,000
               None
                 Recipient’s name and address                         Description of the gifts or contributions                   Dates given           Value

                Unknown - subject to further investigation
                __________________________________________            ___________________________________________                 _________________   $__________
         9.1.
                Recipient’s name
                __________________________________________            ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code


                  Recipient’s relationship to debtor
                  __________________________________________


                __________________________________________            ___________________________________________                 _________________   $__________
         9.2. Recipient’s name

                __________________________________________            ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code

                  Recipient’s relationship to debtor
                  __________________________________________


   Part 5:             Certain Losses

   10. All losses from fire, theft, or other casualty within 1 year before filing this case.

               None
                 Description of the property lost and how the loss    Amount of payments received for the loss                    Date of loss        Value of property
                 occurred                                             If you have received payments to cover the loss, for                            lost
                                                                      example, from insurance, government compensation, or
                                                                      tort liability, list the total received.
                                                                      List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                      Assets – Real and Personal Property).

                 Unknown - subject to further investigation
                 ___________________________________________          ___________________________________________                 _________________   $__________
                 ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 4
                                    Case 23-14209               Doc 1       Filed 06/15/23             Page 38 of 56

Debtor          12-16 S. Patterson Park Avenue Development, LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




   Part 6:       Certain Payments or Transfers

   11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
         the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
         seeking bankruptcy relief, or filing a bankruptcy case.

            None

              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value
               Miles & Stockbridge PC
              __________________________________________
     11.1.                                                        ___________________________________________               May 2023              50,000
                                                                                                                           ______________       $_________
              Address
                                                                  ___________________________________________
              Miles & Stockbridge PC
              __________________________________________
              Street
               100 Light Street
              __________________________________________
              Baltimore                MD       21202
              __________________________________________
              City                        State      ZIP Code


              Email or website address
              _________________________________

              Who made the payment, if not debtor?


              __________________________________________


              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value


     11.2.    __________________________________________          ___________________________________________
                                                                                                                           ______________       $_________
              Address                                             ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                        State      ZIP Code

              Email or website address
              __________________________________________

              Who made the payment, if not debtor?

              __________________________________________


   12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
         a self-settled trust or similar device.
         Do not include transfers already listed on this statement.

            None

              Name of trust or device                             Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                            were made           value


              Unknown - subject to further investigation
              __________________________________________          ___________________________________________               ______________       $_________

              Trustee                                             ___________________________________________
              __________________________________________




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 5
                                       Case 23-14209              Doc 1        Filed 06/15/23             Page 39 of 56

Debtor          12-16 S. Patterson Park Avenue Development, LLC
                _______________________________________________________                             Case number (if known)_____________________________________
                Name




   13. Transfers not already listed on this statement
         List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
         within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
         Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


            None

              Who received transfer?                                 Description of property transferred or payments received   Date transfer      Total amount or
                                                                     or debts paid in exchange                                  was made           value



     13.1.    Unknown - subject to further investigation
              __________________________________________             ___________________________________________                ________________    $_________

                                                                     ___________________________________________
              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________




              Who received transfer?
                                                                     ___________________________________________                ________________    $_________

     13.2.    __________________________________________             ___________________________________________

              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________



   Part 7:       Previous Locations

   14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

            Does not apply
              Address                                                                                                Dates of occupancy


     14.1.     5020 Bee Frances Way
               _______________________________________________________________________                               From       2017
                                                                                                                                ____________       To   Date of filing
                                                                                                                                                        ____________
              Street
              _______________________________________________________________________
              Clarksville                               MD           21029
              _______________________________________________________________________
              City                                               State         ZIP Code


     14.2.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6
                                        Case 23-14209             Doc 1        Filed 06/15/23               Page 40 of 56

Debtor           12-16 S. Patterson Park Avenue Development, LLC
                 _______________________________________________________                              Case number (if known)_____________________________________
                 Name




   Part 8:            Health Care Bankruptcies

   15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          diagnosing or treating injury, deformity, or disease, or
          providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.
               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.1.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ____________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                               Electronically
                                                                                                                                              Paper

               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.2.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ___________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                               Electronically
                                                                                                                                              Paper

   Part 9:            Personally Identifiable Information

   16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained. ___________________________________________________________________
                      Does the debtor have a privacy policy about that information?
                  
                         No
                         Yes
   17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
         pension or profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
         q   Yes. Does the debtor serve as plan administrator?
                         No. Go to Part 10.
                         Yes. Fill in below:
                           Name of plan                                                                             Employer identification number of the plan

                           _______________________________________________________________________                  EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                          Has the plan been terminated?
                              No
                              Yes



Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7
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Debtor           12-16 S. Patterson Park Avenue Development, LLC
                 _______________________________________________________                             Case number (if known)_____________________________________
                 Name




   Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

   18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
         moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

            None

               Financial institution name and address           Last 4 digits of account        Type of account             Date account was        Last balance
                                                                number                                                      closed, sold, moved,    before closing or
                                                                                                                            or transferred          transfer

     18.1.     Unknown - subject to investigation
               ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

     18.2.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

   19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

            None

                 Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                          still have it?

               Unknown - subject to investigation
               ______________________________________          __________________________________          __________________________________                 No
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                              Yes
               ______________________________________
               Street                                          __________________________________          __________________________________             
               ______________________________________
               ______________________________________           Address                                                                                   
               City                  State        ZIP Code
                                                               ____________________________________

                                                               ____________________________________

  20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
         which the debtor does business.

            None

                 Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                          still have it?
                                                                                                                                                            No
               Unknown   - subject to investigation
               ______________________________________          __________________________________          __________________________________
               Name
                                                                                                                                                            Yes
               ______________________________________
                                                               __________________________________          __________________________________              
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________            Address                                                                                   
               City                  State        ZIP Code
                                                                ________________________________

                                                                _________________________________



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Debtor            12-16 S. Patterson Park Avenue Development, LLC
                  _______________________________________________________                             Case number (if known)_____________________________________
                  Name




   Part 11:          Property the Debtor Holds or Controls That the Debtor Does Not Own

   21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

            None

              Owner’s name and address                              Location of the property                Description of the property                 Value


              Unknown - subject to investigation                                                                                                        $_______
              ______________________________________                __________________________________      __________________________________
              Name
                                                                    __________________________________      __________________________________
              ______________________________________
              Street                                                __________________________________      __________________________________
              ______________________________________
              ______________________________________
              City                 State          ZIP Code




   Part 12:          Details About Environmental Information

   For the purpose of Part 12, the following definitions apply:
    Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).
    Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.
    Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

   Report all notices, releases, and proceedings known, regardless of when they occurred.


   22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


            No
            Yes. Provide details below.
              Case title                                     Court or agency name and address              Nature of the case                       Status of case
              Unknown - subject to investigation
              _________________________________
                                                             _____________________________________         __________________________________          Pending
              Case number                                    Name
                                                                                                           __________________________________
                                                                                                                                                       On appeal

              _________________________________
                                                             _____________________________________
                                                             Street
                                                                                                                                                       Concluded
                                                                                                           __________________________________
                                                             _____________________________________                                                  
                                                             _____________________________________
                                                             City                    State     ZIP Code




   23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
         environmental law?

            No
            Yes. Provide details below.

             Site name and address                           Governmental unit name and address            Environmental law, if known             Date of notice

              Unknown - subject to investigation
              __________________________________             _____________________________________         __________________________________       __________
              Name                                           Name
                                                                                                           __________________________________
              __________________________________             _____________________________________
              Street                                         Street                                        __________________________________
              __________________________________             _____________________________________
              __________________________________             _____________________________________
              City                 State     ZIP Code        City                   State      ZIP Code




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Debtor            12-16 S. Patterson Park Avenue Development, LLC
                  _______________________________________________________                        Case number (if known)_____________________________________
                  Name




   24. Has the debtor notified any governmental unit of any release of hazardous material?
            No
            Yes. Provide details below.

             Site name and address                       Governmental unit name and address           Environmental law, if known                Date of notice

              Unknown - subject to investigation
              __________________________________        ______________________________________        __________________________________           __________
              Name                                      Name
                                                                                                      __________________________________
              __________________________________        ______________________________________
              Street                                    Street                                        __________________________________
              __________________________________        ______________________________________
              __________________________________        ______________________________________
              City                 State    ZIP Code    City                 State        ZIP Code




   Part 13:            Details About the Debtor’s Business or Connections to Any Business


   25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

            None


              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
     25.1.    __________________________________         _____________________________________________
              Name                                                                                             Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code




              Business name and address                  Describe the nature of the business                   Employer Identification number
     25.2.                                                                                                     Do not include Social Security number or ITIN.

              __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                                                                               Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code



              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

     25.3.    __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                         _____________________________________________         Dates business existed
              __________________________________
              Street                                     _____________________________________________
              __________________________________
              __________________________________                                                               From _______         To _______
              City                 State    ZIP Code




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Debtor               12-16 S. Patterson Park Avenue Development LLC
                     _______________________________________________________                          Case number (if known)_____________________________________
                     Name




   26. Books, records, and financial statements
         26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                     None
                 Name and address                                                                                   Dates of service

                                                                                                                    From 2017
                                                                                                                         _______          2022
                                                                                                                                       To _______
     26a.1.      George L. Divel, III
                 __________________________________________________________________________________
                 Name
                 3275  Saint Charles Way
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 Boca Raton                                  FL                   33434
                 __________________________________________________________________________________
                 City                                                State                 ZIP Code


                 Name and address                                                                                   Dates of service

                                                                                                                    From _______       To _______
     26a.2.      __________________________________________________________________________________
                 Name
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 __________________________________________________________________________________
                 City                                                State                 ZIP Code



         26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
                statement within 2 years before filing this case.
                     None

                        Name and address                                                                            Dates of service

                                                                                                                         11/2022
                                                                                                                    From _______           Present
                                                                                                                                       To _______
           26b.1.       Patricia B. Jefferson, Chapter 11 Trustee of G.D. III, Inc., Managing Member
                        ______________________________________________________________________________
                        Name
                        Miles & Stockbridge PC
                        ______________________________________________________________________________
                        Street
                        100 Light Street
                        ______________________________________________________________________________
                        Baltimore                                    MD                 21202
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code


                        Name and address                                                                            Dates of service

                                                                                                                    From _______       To _______
           26b.2.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code



         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                     None
                        Name and address                                                                            If any books of account and records are
                                                                                                                    unavailable, explain why


            26c.1.      George L. Divel, III
                        ______________________________________________________________________________              Financial statements do not exist. Copies
                                                                                                                    _________________________________________
                        Name
                                                                                                                    of bank statements have been requested
                                                                                                                    _________________________________________
                         3275 Saint Charles Way
                        ______________________________________________________________________________
                        Street                                                                                      and partially provided
                                                                                                                    _________________________________________
                        ______________________________________________________________________________
                        Boca Raton                                   FL                  33434
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 11
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Debtor                12-16 S. Patterson Park Avenue Development, LLC
                      _______________________________________________________                       Case number (if known)_____________________________________
                      Name




                         Name and address                                                                         If any books of account and records are
                                                                                                                  unavailable, explain why


             26c.2.      Patricia B. Jefferson, Chapter 11 Trustee of G.D. III, Inc., Managing Member
                         ______________________________________________________________________________           Trustee possesses part of the debtor's
                                                                                                                  _________________________________________
                         Name
                                                                                                                  financial records, but the whole financial
                                                                                                                  _________________________________________
                         Miles & Stockbridge PC
                         ______________________________________________________________________________
                         Street                                                                                   history remains incomplete
                                                                                                                  _________________________________________
                         100 Light Street
                         ______________________________________________________________________________
                         Baltimore                                     MD                 21202
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code



         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
              within 2 years before filing this case.

                      None

                         Name and address


             26d.1.      Unknown - subject to further investigation
                         ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code


                         Name and address


             26d.2.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code




   27. Inventories

         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
             No
            Yes. Give the details about the two most recent inventories.



                 Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                      inventory    other basis) of each inventory

                Patricia B. Jefferson, Chapter 11 Trustee of G.D. III, Inc., Managing Member
                ______________________________________________________________________               2023
                                                                                                     _______       Not created
                                                                                                                  $___________________

                 Name and address of the person who has possession of inventory records


     27.1.       Not created
                 ______________________________________________________________________
                Name
                ______________________________________________________________________
                Street
                ______________________________________________________________________
                ______________________________________________________________________
                City                                                     State        ZIP Code




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Debtor            12-16  S. S.
                            Patterson  Park Avenue  Development,   LLC
                  _______________________________________________________
                     12-16     Patterson Park Avenue   Development,  LLC                              Case number (if known)_____________________________________
                  Name




              Name of the person who supervised the taking of the inventory                            Date of           The dollar amount and basis (cost, market, or
                                                                                                       inventory         other basis) of each inventory

              ______________________________________________________________________                   _______        $___________________

              Name and address of the person who has possession of inventory records


     27.2.    ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                        State           ZIP Code


   28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
         people in control of the debtor at the time of the filing of this case.

              Name                                  Address                                                    Position and nature of any            % of interest, if any
                                                                                                               interest
              G.D. III, Inc.
              ____________________________        _____________________________________________
                                     c/o Patricia B. Jefferson, Miles & Stockbridge PC, 100 Light Street, Baltimore, ____________________________
                                                                                                                     MD 21202    Managing Member              50%
                                                                                                                                                      _______________
              Tour Div, LLC            c/o Dr. Pegah Touradji, 7 Hampston Garth, Lutherville Timonium, MD 21093
              ____________________________      _____________________________________________                 ____________________________
                                                                                                                  Investor Member                     _______________
                                                                                                                                                         50%

              ____________________________          _____________________________________________              ____________________________           _______________

              ____________________________          _____________________________________________              ____________________________           _______________

              ____________________________          _____________________________________________              ____________________________           _______________

   29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
         of the debtor, or shareholders in control of the debtor who no longer hold these positions?
            No
           Yes. Identify below.

              Name                                  Address                                                    Position and nature of          Period during which
                                                                                                               any interest                    position or interest was
                                                                                                                                               held
              Chance Development, LLC
              ____________________________          506 S. Collington St., Baltimore, MD 21231
                                                    _____________________________________________              Former  member
                                                                                                               ______________________              _____ To 2020
                                                                                                                                              From 12/2017  _____

              ____________________________          _____________________________________________              ______________________         From _____ To _____

              ____________________________          _____________________________________________              ______________________         From _____ To _____

              ____________________________          _____________________________________________              ______________________         From _____ To _____

   30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
            No
           Yes. Identify below.

              Name and address of recipient                                                   Amount of money or                   Dates              Reason for
                                                                                              description and value of                                providing the value
                                                                                              property


     30.1.    George L. Divel, III
              ______________________________________________________________                  Unknown - subject to further _____________
                                                                                              _________________________    investigation               ____________
              Name
              3275 Saint Charles Way
              ______________________________________________________________
              Street                                                                                                              _____________
              ______________________________________________________________
              Boca Raton                          FL            33434
              ______________________________________________________________                                                      _____________
              City                                        State           ZIP Code

              Relationship to debtor                                                                                              _____________
              Former authorized person
              ______________________________________________________________                                                      _____________

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Debtor            12-16 S. Patterson Park Avenue Development, LLC
                  _______________________________________________________                          Case number (if known)_____________________________________
                  Name




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

     30.2     ______________________________________________________________
              Name                                                                                                         _____________
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                            State         ZIP Code


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



   31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
            No
            Yes. Identify below.

              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation
              Unknown - subject to further investigation
              ______________________________________________________________                              EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



   32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
            No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                              EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



   Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on        06/15/2023
                               _________________
                                MM / DD / YYYY



          /s/ Patricia B. Jefferson
                                                                                                     Patricia B. Jefferson, Chapter 11 Trustee of G.D. III,
              ___________________________________________________________                              Inc.
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                  Authorized person
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
             Yes




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Debtor: 12-16 S. Patterson Park Avenue Development, LLC


                             Continuation Sheet – Statement of Financial Affairs

3. Certain payments or transfers to creditors within 90 days before filing this case:

 Creditor’s Name and Address              Dates         Total amount or Reasons for payment or
                                                        value           transfer
 Baltimore City Bureau                of 3/7/2023       $67,803.76      Redemption       of     four
 Revenue Collections                                                    properties sold at tax sale.
 Lien Section
 200 Holliday Street
 Baltimore, MD 21202



7. Legal actions, administrative proceedings, court actions, executions, attachments, or
governmental audits

 Case Title      Case Number                  Nature             Court Address       Status
 Thornton Mellon 24-C-23-000091               Foreclosure of     Circuit Court for   Concluded
 LLC v. 12-16 S.                              right of           Baltimore City
 Patterson Park                               redemption of      111 N. Calvert
 Avenue                                       property sold at   St., Room 462
 Development                                  tax sale           Baltimore, MD
 LLC                                                             21202
 Pine Valley One 24-C-23-001569               Foreclosure of     Circuit Court for   Pending
 Real Estate LLC                              right of           Baltimore City
 v. 12-16 S.                                  redemption of      111 N. Calvert
 Patterson Park                               property sold at   St., Room 462
 Avenue                                       tax sale           Baltimore, MD
 Development,                                                    21202
 LLC




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                                  UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND

  In re:

  12-16 S. PATTERSON PARK AVENUE                     Case No. _____________
  DEVELOPMENT, LLC,                                  (Chapter 11)

                   Debtor.


                                  LIST OF EQUITY SECURITY HOLDERS

 Registered Name and Address of Security Holder         Percent Ownership   Type of Interest

 G.D. III, Inc.                                         50%                 Managing Member
 c/o Patricia B. Jefferson, Chapter 11 Trustee
 Miles & Stockbridge PC
 100 Light Street
 Baltimore, MD 21202

 Tour Div, LLC                                          50%                 Investor Member
 c/o Dr. Pegah Touradji
 7 Hampston Garth
 Lutherville Timonium, MD 21093

 Chance Development, LLC                                0% deemed      to None, deemed to
 506 S. Collington Street                               forfeit           forfeit interest
 Baltimore, MD 21231




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND


 In re:

 12-16 S. PATTERSON PARK AVENUE                         Case No. _____________
 DEVELOPMENT, LLC,                                      Chapter 11

                          Debtor.


                                  VERIFICATION OF CREDITOR MATRIX

I, Patricia B. Jefferson, Chapter 11 Trustee for the bankruptcy estate of G.D. III, Inc., the Managing
Member of the above named Debtor, hereby verifies that the attached list of creditors is true and
correct to the best of my knowledge.

Date: June 15, 2023                  /s/ Patricia B. Jefferson
                                     Patricia B. Jefferson, Chapter 11 Trustee for the bankruptcy estate
                                     of G.D. III, Inc., Managing member




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                                            Creditor Matrix

12-16 S. Patterson Park Avenue Development, LLC
c/o Patricia B. Jefferson, Chapter 11 Trustee
Miles & Stockbridge PC
100 Light Street
Baltimore, MD 21202


Internal Revenue Service
Centralized Insolvency Operation
PO Box 7346
Philadelphia, PA 19101


Comptroller of Maryland Bankruptcy Unit
301 W. Preston Street, Room 409
Baltimore, MD 21201


City of Baltimore
Director of Finance
100 N. Holliday Street, Room 454
Baltimore, MD 21202


City of Baltimore
Bureau of Revenue Collections
200 Holliday St.
Baltimore, MD 21202


1401 S. Hanover Street, LLC
c/o Patricia B. Jefferson, Chapter 11 Trustee
Miles & Stockbridge PC
100 Light Street
Baltimore, MD 21202


Bank of America, N.A.
PO Box 982284
El Paso, TX 79998


Ronald Deutsch
1099 Winterson Road #301
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Linthicum Heights, MD 21090


Mayor and City Council of Baltimore
100 N. Holliday Street, Suite 400
Baltimore, MD 21202


Hampstead Hills, LLC
2519 Eastern Avenue
Baltimore, MD 21224


Pine Valley One Real Estate, LLC
c/o Eskin Law, LLC
1700 Reisterstown Rd., Suite 212
Baltimore, MD 21208


Scott Morse
Law Office of J. Scott Morse, LLC
9 Newburg Ave., Suite 201
Catonsville, MD 21228


Paul Sweeney, Esquire
YVS Law, LLC
11825 West Market Place, Suite 200
Fulton, MD 20759


George L. Divel, III
3275 Saint Charles Way
Boca Raton, FL 33434


Brian L. Chance
1021 Binney Street
Baltimore, MD 21224


G.D. III, Inc.
c/o Patricia B. Jefferson, Chapter 11 Trustee
Miles & Stockbridge PC
100 Light Street
Baltimore, MD 21202
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Chance Development, LLC
506 S. Collington Street
Baltimore, MD 21231


Tour Div, LLC
c/o Dr. Pegah Touradji
7 Hampston Garth
Lutherville Timonium, MD 21093


Max Brauer, Assistant Attorney General
Maryland Office of the Attorney General
Securities Division
200 St. Paul Pl., 25th Floor
Baltimore, MD 21202


Kelvin M. Blake, Assistant Attorney General
Maryland Office of the Attorney General
Securities Division
200 St. Paul Pl., 25th Floor
Baltimore, MD 21202


Katharine Weiskittel, Assistant Attorney General
Maryland Office of the Attorney General
Securities Division
200 St. Paul Pl., 25th Floor
Baltimore, MD 21202


Amar & Pushpa Sokhey
8762 Wethered Drive
Ellicott City, MD 21043


Aziz Abdelkefi & Julie Reynolds
7 Black Forrest Road
Reisterstown, MD 21136


Chad Kuciara
1937 Nelson Mill Road
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Jarrettsville, MD 21984


Dominic Cardone
1002 Shelburne Road
Bel Air, MD 21015


Elizabeth Greller
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Atlanta Reg. Office and Reorg.
950 E. Paces Ferry Rd. NE, Suite 900
Atlanta, GA 30326
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                                  UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND

  In re:

  12-16 S. PATTERSON PARK AVENUE                     Case No. _____________
  DEVELOPMENT, LLC,                                  (Chapter 11)

                   Debtor.


                    CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate
possible disqualification or recusal, the undersigned counsel for 12-16 S. Patterson Park Avenue
Development, LLC in the above captioned action, certifies that the following are corporation(s),
other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's equity interests, or states that there are no entities to report under FRBP
7007.1:

G.D. III, Inc.
c/o Patricia B. Jefferson, Chapter 11 Trustee
Miles & Stockbridge PC
100 Light Street
Baltimore, MD 21202

Chance Development, LLC (forfeited)
Brian Chance
506 S. Collington St.
Baltimore, MD 21231

Tour Div, LLC
Pegah Touradji
7 Hampston Garth
Lutherville Timonium, MD 21093

June 15, 2023                                         /s/ Addison J. Chappell
Date                                                  Addison J. Chappell
                                                        Fed. Bar No. 21852
                                                      Miles & Stockbridge P.C.
                                                      100 Light Street, 10th Floor
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                                                      Counsel for the Debtor


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